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                                                                     DATE FILED: November 25, 2020 6:40 PM
             DISTRICT COURT, CITY AND COUNTY OF FILING ID: 4BDC837AF3FE2
             DENVER, STATE OF COLORADO          CASE NUMBER: 2020CV34038
             1437 Bannock Street,
             Denver, Colorado 80202
             303-606-2300
             Jocelyn Bailey Messer, Petitioner,
             and
             Jeffrey Potter, Respondent.
             Attorneys for Petitioner:
             The Harris Law Firm P.C.
             Eric B. Limegrover
             8310 South Valley Highway, Ste. 280
             Englewood, CO 80112                       S COURT USE ONLY S
             Telephone 303-515-5000
             Eric@HarrisFamilyLaw.com                    Case No: ^
             Attorney Registration No. 48697              Division: ^
                  VERIFIED COMPLAINT _MOTION FOR CIVIL PROTECTION ORDER

             I, Jocelyn Bailey Messer request this Court to issue a Civil Protection Order, and in support of
             this request state the following:
             1.   I am seeking this Civil Protection Order as a victim of the following: (Mark the applicable
                  circumstances.)
                  _Domestic Abuse (§13-14-101(2), C.R.S.)
                  Stalking (§18-3-602, C.R.S.)
                  Sexual Assault (§18-3-402(1), C.R.S.)
                  Unlawful Sexual Contact (§18-3-404, C.R.S.)
                  Abuse of the Elderly or an At-Risk Adult (§26-3.1-101(1) and (7), C.R.S.)
                  _Physical Assault, Threat or other situation.

            2.    I reside or am employed in the County of Denver State of Colorado, and Jeffrey Potter
                  resides or is employed in the County of Arapahoe, State of Colorado. I know Jeffrey Potter
                  because we were previously in a relationship.




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             3.    The other Protected Persons are (list full name, date of birth, sex, and race):

                  Full Name of Protected        Date         Sex   Rac   Full Name of Protected      Date    Sex    Rac
                         Person                  of                 e           Person                of             e
                                                Birth                                                Birth
                  N/A

             I have completed and attached the form titled “Affidavit Regarding Children” JDF 404
             as children are identified as Protected Persons above.

             4.    a) The most recent incident that causes me to ask for a Civil Protection Order occurred on or
                   about October 21, 2020, at about 9:30 pm, in Arapahoe County, when Jeffrey Potter did the
                   following to me and/or the above named Protected Persons:

                   Mr. Potter and I were involved in a relationship that ended in the summer of 2020. Some
                   time after, we resumed our relationship under the condition that he stop his drinking. On this
                   date, we went to dinner where he began consuming drinks and arrived back at his place
                   around 9:30 pm. Shortly after our arrival, I realized he was very much under the influence
                   and I began collecting my personal property that was left at his residence and prepared to
                   leave with my Dog “Koda”. As I was doing this, Mr. Potter began throwing candy at me and
                   when I got fed up and threw some back he immediately got enraged and then proceeded to
                   threaten my Dog and I moved to intervene so that he couldn’t hit him again as he has
                   previously done. I tried to calm him down by hugging him and telling him not to be this
                   way. He pushed me on the floor and yelled and threw more candy at me.

                   Moments later, Mr. Potter began hitting me repeatedly, hard, as I begged him to stop. I was
                   crying and asked him why he was doing this and he kicked me while I was on the ground and
                   said “I am an alpha male this is what I do.” He then placed his hands on my throat and began
                   choking me to make me shut up as well as over my mouth and nose so I couldn’t breathe or
                   cry loudly. I escaped and ran out to put my dog Koda in the car so he was safe and realized
                   my computer bag was still inside so I ran in to get it. I was still begging him to calm down
                   when he grabbed my throat and banged my head against the door 3 times and I fell on the
                   ground hitting it again. I believe I may have passed out at some point. Everything here was a
                   bit of haze and I was unsure if I was ok.

                   I was able to get up and get my things and place them within the car. Jeff followed me out
                   and tried to rip the right side mirror off of my car. I opened the door and yelled “STOP!” and
                   I pulled out of the driveway and left.


                   b) The most serious incident that causes me to ask for a Civil Protection Order occurred on
                   or about April 2019, in Arapaho County, when Jeffrey Potter did the following to me and/or
                   the above named Protected Persons:



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                 On or about April 2019, Mr. Potter and I had been hiking. After when we stopped to eat, Mr.
                 Potter ordered several drinks and became intoxicated. We returned to his residence on S
                 Josephine St. I attempted to gather my things and leave, at which time Mr. Potter began to
                 get aggressive with me. At one point he picked me up by my throat and threw me onto the
                 bed. He also pinned me up against the wall by my throat. As I was leaving, he pushed me
                 down the stairs and wouldn’t let me leave. He tried to take my phone away from me by
                 pulling out my hair which is still growing back in places. At another he pinned me down with
                 his knee on the floor and began strangling me. I was unable to breathe while this was
                 occurring. I was able to escape with my dogs and my personal property. The other most
                 serious incident that happened was in August 2019 at Jeff’s house on S Yale. We had arrived
                 at his house after driving a ten hour drive back from Montana and Jeff got upset I was trying
                 to sleep on the couch. He proceeded to pour beer on my head and pull me off the couch and
                 strangle me on the ground, holding my left arm down with his knee and strangling me so I
                 could not breathe. I was very scared and couldn’t breathe at all. I escaped by screaming and
                 trying to scratch at his face so he would get off. As I proceeded to try to get my things and
                 leave Jeff kicked me, pushed me to the ground, strangled me multiple times, and bit my face.
                 I managed to get my things and leave by pretending I was on the phone with the non
                 emergency police.

                 I have documented a lot of the abuse I’ve suffered throughout this relationship with Mr.
                 Potter.

                 c) Any other past incidents of violence or threats? Be specific: What was the threat or acts
                 of violence? Where did this occur? Were the minor children or other Protected Persons
                 present? Was a weapon involved?

                 There have been numerous instances of abuse that I have suffered by Mr. Potter. This abuse
                 has ranged from verbal, emotional, and physical abuse. Mr. Potter has strangled me on
                 multiple occasions. I believe he has an anger management and substance abuse problems
                 which affects his behavior, and his behavior towards me.


                 d) Are you aware of any other Protection Orders currently in effect against you or the other
                 person?

                 ⌧Yes ❑ No If Yes, list any relevant information, such as the issuing Court, State, and date
                 of the order:

                 There is a pending criminal case regarding the above in Case No. 2020CR002867. Mr. Potter
                 has been charged with one count of C.R.S. § 18-3-203(1)(i) ASSAULT 2-
                 STRANGULATION and one count of C.R.S. § 18-3-204(1)(a) ASSAULT 3-
                 KNOW/RECKLESS CAUSE INJURY. As a result of this, there is a Mandatory Protection
                 Order already in place.



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             5.   I believe that I and/or the other Protected Persons named in this action are in imminent
                  danger from Jeffrey Potter:

                ⌧ Harm to my/our life or health if he/she is not restrained as requested.
                ⌧ Physical or emotional harm to my/our emotional health or welfare if he/she is not
                excluded from the family home or the home of another.
             6. ❑ I request that I be permitted to omit my address from this Verified Complaint/Motion for
                Civil Protection Order, because I fear that including my address will endanger me and/or the
                other Protected Persons.
                                                                       Jeffrey Potter
             7.   I request the following relief from the Court that                                         (name
                  of person):

                 a. ⌧ Be ordered to refrain from contacting, harassing, injuring, stalking, touching, sexually
             assaulting, molesting, intimidating, and threatening me or other protected persons.

                  b. ⌧ Be ordered to have no contact at all with me or the other Protected Persons.
                  or
                      ❑ Be allowed only the following limited contact with me or the other Protected Persons:
                     Be specific.




                  c. ❑ Be excluded from my home at (address): If you checked section 6, do not provide
                     your address.    755 S. Dexter Street #526, Denver, CO 80246
                        _____________________________________________________________________

                  d. ⌧ Be ordered to stay at least ________100 yards from the following places. (address or
                      description)
                  If you checked section 6, do not provide your address.
                  ❑ Home:          755 S. Dexter Street, #526, Denver, CO 80246

                  x   Work:

                      Name: ________________________ Address: _________________________________

                  ❑ School:

                      Name: _________________________ Address: _________________________________

                  ❑ Other:


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                 e. ❑ Be ordered to have no contact with the minor children and that I be awarded
                    temporary care and    control and Interim Decision-Making Responsibilities for the
                    children.

                               or

                      ❑ Be awarded temporary care and control of the children and that the other person be
                      given Parenting Time with the children and Interim Decision-Making Responsibilities as
                      follows: Be specific.

                    N/A
                 f. ⌧ Be ordered to refrain from molesting, injuring, taking, transferring, encumbering,
                    concealing, or disposing of or threatening harm to an animal owned, possessed, leased,
                    kept or held by me or my minor child(ren), or other protected persons. Arrangements for
                    possession and care are as follows:

                      ⌧ Be ordered, if this is a domestic abuse protection order, to not possess and/or purchase
                      a firearm, ammunition, or other weapon AND to relinquish any firearm or ammunition
                      within the time ordered by the Court.

                 g. ⌧ Be ordered to refrain from interfering with me or other protected persons at our place
                    of employment or place of education and from engaging in conduct that impairs my or
                    other protected person’s employment, educational relationships, or environment.

                 h. ❑Other:

             ⌧ I understand that once a Civil Protection Order is issued it cannot be modified or dismissed by
             me or the other person without permission of the Court.
             ❑ By checking this box, I am acknowledging I am filling in the blanks and not changing
             anything else on the form.
             ⌧ By checking this box, I am acknowledging that I have made a change to the original content
             of this form.
                                                          VERIFICATION

             I declare under penalty of perjury under the law of Colorado that the foregoing is true and correct.
                                                
             Executed on the ______ day of ________________, _______, at ______________________________________
                             (date)       (month)            (year)      (city or other location, and state OR country
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             ___________________________________                          ______________________________________
              (Printed name of Petitioner Respondent)                    Signature of Petitioner Respondent



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                Stop: If you checked box number 6, do not fill in your address and telephone number.

                                                                             _755 S. Dexter Street, #526, Denver, CO 80246
                                                                             Address

                                                                             _804-399-6118__________________________________
                                                                             Telephone Number



             Notice: Colorado Revised Statutes §13-14-105 identifies that a temporary injunction may be issued by the Court
             and that upon personal service or upon waiver and acceptance of service by the Restrained Person, is to be in effect
             against the Restrained Person for a period determined to be appropriate by the Court. This injunction restrains the
             Restrained Person from:
             1. Ceasing to make payments for mortgage or rent, insurance, utilities or related services, transportation,
                medical care, or child care when the Restrained Person has a prior existing duty or legal obligation for
                making such payments.
             2. Transferring, encumbering, concealing, or in any way disposing of personal effects or real property,
                except in the usual course of business or for the necessities of life.
             The Restrained Person shall be required to account to the Court for all extraordinary expenditures made after the
             injunction is in effect.
             Any injunction issued shall not exceed one year after the issuance of the Permanent Civil Protection Order.



                                                                             APPROVED AS TO FORM



                                                                       By:
                                                                             Eric B. Limegrover, #48697
                                                                             Attorneys for Petitioner




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